                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE

UNITED STATES                                     )
                                                  )
v.                                                )      Case No. 3:25-cr-00115-1
                                                  )
KILMAR ARMANDO ABREGO GARCIA                      )

                                          ORDER

         For the reasons discussed in the memorandum opinion entered separately, the United

States’ motion for detention (Docket No. 8) is DENIED. A hearing will be held on Wednesday,

June 25, 2025, at 2:00 p.m. (CDT) in Courtroom 3D, Fred D. Thompson U.S. Courthouse, 719

Church Street, Nashville, Tennessee, to review conditions of release and otherwise address any

necessary issues. The United States Marshal is DIRECTED to produce the defendant Kilmar

Armando Abrego Garcia for this hearing.

         It is SO ORDERED.


                                           _________________________________
                                           BARBARA D. HOLMES
                                           United States Magistrate Judge




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